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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF OKLAHOMA

THE CHEROKEE NATION,                        )
THE CHICKASAW NATION, and                   )
THE CHOCTAW NATION,                         )
                                            )
      Plaintiffs,                           )
                                            )
THE CITIZEN POTAWATOMI NATION,              )
THE MUSCOGEE (CREEK) NATION,                )     No. CIV-19-1198-D
THE QUAPAW NATION,                          )
THE DELAWARE NATION,                        )
THE SEMINOLE NATION, and                    )
THE WICHITA AND AFFILIATED TRIBES, )
                                            )
      Plaintiffs-in-Intervention,           )
                                            )
v.                                          )
                                            )
J. KEVIN STITT, in his official capacity as )
the Governor of the State of Oklahoma,      )
                                            )
      Defendant/Counterclaimant.            )
                                            )

PLAINTIFFS’ AND PLAINTIFFS-IN-INTERVENTION’S CHEROKEE NATION,
   CHICKASAW NATION, CHOCTAW NATION, CITIZEN POTAWATOMI
 NATION, DELAWARE NATION, MUSCOGEE (CREEK) NATION, QUAPAW
  NATION, AND SEMINOLE NATION MOTION FOR PARTIAL SUMMARY
                           JUDGMENT

      Pursuant to Fed. R. Civ. P. 56(a) and (c), L.Civ.R. 7.1, and this Court’s Order of

April 23, 2020, ECF No. 122, Plaintiffs and Plaintiffs-in-Intervention Cherokee Nation,

Chickasaw Nation, Choctaw Nation, Citizen Potawatomi Nation, Delaware Nation,

Muscogee (Creek) Nation, Quapaw Nation, and Seminole Nation (“Nations”)

respectfully submit this Motion for Partial Summary Judgment on the issue of whether

the Nations’ Compacts automatically renewed on January 1, 2020 under the terms of Part

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15.B. of the Compacts. For the reasons described in the supporting brief and statement of

undisputed material facts, the Court should rule that the Compacts automatically renewed

and grant the Nations’ requests for declaratory relief. See Complaint at 21, ECF No. 1;

Complaint in Intervention at 17-18, ECF No. 29; Complaint at 4-5, ECF No. 30;

Complaint in Intervention at 7-8, ECF No. 62; Complaint in Intervention at 7-8, ECF No.

68; Complaint in Intervention at 5, ECF No. 74.

                                         Respectfully submitted,

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                             CERTIFICATE OF SERVICE

       I hereby certify that on May 22, 2020, I electronically filed the above and

foregoing document with the Clerk of Court via the ECF System for filing. Based on the

records currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to

the parties registered to receive such notice.


                                                     s/ Frank S. Holleman
                                                     Frank S. Holleman




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